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 1                                                                 JUDGE RICARDO S. MARTINEZ
 2

 3

 4                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 5                                        AT SEATTLE
 6
     UNITED STATES OF AMERICA,                      )
 7                                                  )       NO. CR 05-322 RSM
                   Plaintiff,                       )
 8                                                  )
                   vs.                              )
 9                                                  )       ORDER GRANTING
   MANUEL RADDATZ-LIMONES,                          )       STIPULATED MOTION TO CONTINUE
10 JOSE CRUZ-ORTEGA, ARTEMIO                        )       TRIAL DATE AND EXTEND TIME FOR
   ROJAS-MARTINEZ, and STEPHANIE                    )       PRETRIAL MOTIONS
11 RUIZ-RODRIGUEZ,                                  )
                                                    )
12                 Defendants.                      )
                                                    )
13                                                  )
14

15          The Court, having reviewed the stipulation of the parties, and the defendants agreement
16   to extend the time for trial, finds as to the facts stipulated to by counsel in that document, and
17   hereby makes the following findings of fact:
18          1.     The Court finds that a failure to grant the continuances would deny counsel the
19   reasonable time necessary for effective preparation, taking into account the exercise of due
20   diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
21          2.     The Court further finds that the ends of justice will be served by ordering the
22   continuances in this case and that the continuances are necessary to insure effective trial
23   preparation and that these factors outweigh the best interests of the public in a more speedy trial,
24   within the meaning of 18 U.S.C. § 3161(h)(8)(A).
25          IT IS THEREFORE ORDERED that the trial date be continued from January 9, 2006, to
26   April 3, 2006.

     ORDER GRANTING STIPULATED MOTION                                         FEDERAL PUBLIC DEFENDER
                                                                                     1601 Fifth Avenue, Suite 700
     TO CONTINUE TRIAL & EXTEND PTM’s DUE DATE
                                                                                      Seattle, Washington 98101
     (Mr. Raddatz-Limones; #05-322RSM)                  1                                         (206) 553-1100
           Case 2:05-cr-00322-RSM       Document 69       Filed 12/13/05   Page 2 of 2



 1          IT IS FURTHER ORDERED that the due date for pretrial motions be extended to
 2   February 27, 2006.
 3          IT IS FURTHER ORDERED that the period of time from the current trial date of January
 4   9, 2006, up to and including the new proposed trial date of April 3, 2006, shall be excludable
 5   time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161, et seq.
 6

 7                 DONE this 13 day of December 2005.
 8

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                                                       A
                                                       RICARDO S. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE Presented
11   by:
12   s/ Jennifer E. Wellman
     WSBA # 29193
13   Attorney for Mr. Raddatz-Limones
     Federal Public Defender’s Office
14   1601 Fifth Avenue, Suite 700
     Seattle, WA 98101
15   Phone: (206) 553-1100
     Fax:      (206) 553-0120
16   jennifer_wellman@fd.org
17 s/ Raul Mendez
   Attorney for Jose Cruz-Ortega
18 Telephonic Approval

19 s/ Catherine Chaney
   Attorney for Artemio Rojas-Martinez
20 Telephonic Approval

21 s/ Lee A. Covell
   Attorney for Stephanie Ruiz-Rodriguez
22 Telephonic Approval

23 s/ Patricia Lally
   Assistant United States Attorney
24 Telephonic Approval

25

26

     ORDER GRANTING STIPULATED MOTION                                      FEDERAL PUBLIC DEFENDER
                                                                                 1601 Fifth Avenue, Suite 700
     TO CONTINUE TRIAL & EXTEND PTM’s DUE DATE
                                                                                  Seattle, Washington 98101
     (Mr. Raddatz-Limones; #05-322RSM)             2                                          (206) 553-1100
